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                             It Works Marketing, Inc. v. Melaleuca Inc.
                                 U.S.D.C., M.D. Fla., Tampa Div.

                               EXHIBIT INDEX TO COMPLAINT
 Exhibit       Exhibit
 No.
  1.           It Works! Distributor Agreement

   2.          Hoerner Text Message

   3.          FTC Warning Letter to Melaleuca

   4. Part A Melaleuca July Leadership in Action Magazine Digital Copy
             Pages 1-15

   4. Part B   Melaleuca July Leadership in Action Magazine Digital Copy
               Pages 16-24

   4. Part C   Melaleuca July Leadership in Action Magazine Digital Copy
               Pages 25-38

   4. Part D Melaleuca July Leadership in Action Magazine Digital Copy
             Pages 39-56

   5.          Melaleuca Building Your Business Guidelines

   6.          Melaleuca ends contract with sales rep. after FTC warning - Idaho
               Statesman

   7.          Olive Check

   8.          It Works! Cease & Desist Letter to Ashley Olive 9.25.18

   9.          Olive Pay Statement

   10.         Schultz Check

   11.         Kaufman Income Statement

   12.         McWhorter Text Message

   13.         Sykes Income Statement

   14.         Kim Bertolucci Check and McCauley Income Statement

   15.         Check Opening Zoom Party Invite


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